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                     IN THE UNITED STATES COURT OF APPEALS

                            FOR THE ELEVENTH CIRCUIT
                              ________________________

                                 No. 21-12355-GG
                             ________________________

NETCHOICE, LLC,
d.b.a. Netchoice,
COMPUTER & COMMUNICATIONS INDUSTRY ASSOCIATION,
d.b.a. CCIA,

                                          Plaintiffs - Appellees,

versus

ATTORNEY GENERAL, STATE OF FLORIDA,
in their official capacity,
JONI ALEXIS POITIER,
in her official capacity as Commissioner of
the Florida Elections Commission,
JASON TODD ALLEN,
in his official capacity as Commissioner of
the Florida Elections Commission,
JOHN MARTIN HAYES,
in his official capacity as Commissioner of
the Florida Elections Commission,
KYMBERLEE CURRY SMITH,
in her official capacity as Commissioner of
Florida Elections Commission,
DEPUTY SECRETARY OF BUSINESS OPERATIONS
OF THE FLORIDA DEPARTMENT OF MANAGEMENT SERVICES,
in their official capacity,

                                          Defendants - Appellants.
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                           Appeal from the United States District Court
                               for the Northern District of Florida
                                 ________________________

ORDER:

       The joint motion for stay of the issuance of the mandate pending petition for writ of

certiorari is GRANTED to and including August 22, 2022, the stay to continue in force until the

final disposition of the case by the Supreme Court, provided that within the period above

mentioned there shall be filed with the Clerk of this Court the certificate of the Clerk of the

Supreme Court that the certiorari petition has been filed. The Clerk shall issue the mandate upon

the filing of a copy of an order of the Supreme Court denying the writ, or upon expiration of the

stay granted herein, unless the above mentioned certificate shall be filed with the Clerk of this

Court within that time.


                                                                                 DAVID J. SMITH
                                                                 Clerk of the United States Court of
                                                                   Appeals for the Eleventh Circuit

                                                ENTERED FOR THE COURT - BY DIRECTION




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